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IN THE UNITED STATES DISTRICT COUR'E§ 4

F
FOR THE WESTERN DISTRICT OF TENNESSEE RZO P” ‘¢'° 2 l
EASTERN DIVISION "-" n

 

MARY L. POE, )
)
Plaintif`f, )
)

VS. ) No. 1-04-1224-T
)
JO ANNE B. BARNHART, )
COMMISSIONER, SOCIAL SECURITY )
ADMINISTRATION, )
)
Def`endant. )

 

ORDER REMANDING FOR FURTHER ADMINISTRATIVE PROCEEDINGS

 

Plaintif`f Mary L. Poe filed this action to obtain judicial review of` the Def`endant
Cornmissioner’s final decision denying her applications for disability benefits and Widow’s
benefits under Title II of the Social Security Act (the “Act” , 42 U.S.C. §§ 401 et seq.
Plaintiff` first applied for benefits on November 16, 2001 , and was denied initially and upon
reconsideration by the Social Security Adrninistration (“S SA”). Following a healing before
an administrative law judge (“ALJ”), a decision was issued on October 8, 2003, finding that
Plaintiff was not disabled.

Plaintif`f` requested a hearing with the Appeals Council. On July 24, 2004, the
Appeals Council denied Plaintiff’s request for review of the ALJ’s decision. Thus, the

ALJ ’s decision became the final decision of the Comrnissioner. Plaintiff` subsequently filed

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this action, requesting that the court reverse the Commissioner’s decision and award
benefits, or in the alternative, remand the matter pursuant to sentence four of 42 U.S.C. §
405(g) on the grounds that the ALJ failed to give proper weight to the opinion of her treating
physician, Dr. Michael W. Hinds. The Commissioner contends that the decision is
supported by substantial evidence. For the reasons set forth below, this action is
REMANDED so that the Commissioner may properly evaluate Dr. Hinds’ opinion.

Standard of` Review

 

Judicial review in this court is limited to determining Whether or not there is
substantial evidence in the record as a whole to support the Commissioner’s decision, and
Whether the correct legal standards Were applied. §e§ 42 U.S.C. § 405 (g); Richardson v.

Perales, 402 U.S. 389, 401 (1971); Her v. Commissioner of Soc. Sec., 203 F.3d 388, 389

 

 

(6th Cir. 1999); Walters v. Commissioner of` Soc. Sec., 127 F.3d 525, 528 (6th Cir. 1997);
Drumm'ond v. Commissioner of Soc. Sec., 126 F.3d 837, 840 (6th Cir. 1997); MM_.
Secretal'v of Health and Hurnan Serv., 25 F.3d 284, 286 (6th Cir. 1994). Substantial
evidence is evidence that a reasonable mind Would accept as adequate to support a

conclusion Perales, 402 U.S. at 401; H_ei;, 203 F.3d at 389; Drummond, 126 F.3d at 840;

 

Qutlip, 25 F.3d at 286. The reviewing court may not resolve conflicts in the evidence nor

decide questions 0f` credibility. Walters, 127 F.3d at 528 (quoting Garner v. Heckler, 745

 

 

F.2d 383, 387 (6th Cir. 1984)); Cutlip, 25 F.3d at 286. In addition, if` the decision is

supported by substantial evidence, it should not be reversed even if` substantial evidence also

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supports the opposite conclusion. Smith v. Chater, 99 F.3d 780, 782 (6th Cir. 1996) (citing

 

Mi_p_, 25 F.3d at 286).
Background of the Case

At the time of the administrative hearing, Plaintiff was a fifty-four year old female
with a high school education. Plaintiff alleges that she became disabled on September 23,
2001, due to debilitating injuries sustained in a riding lawnmower accident. Prior to that
date, she had past relevant work experience as a sewing machine operator and a material
handler. The ALJ made the following specific findings: (l) Plaintif`f` meets the nondisability
requirements for disability benefits set forth in § 216(i) of the Act and disabled widow
benefits until April l, 2002, pursuant to § 202(e) of the Act; (2) Plaintiff has not engaged
in substantial gainful activity since the alleged onset of` disability; (3) Plaintiff has an
impairment or combination of` impairments considered “severe” under 20 C.F.R. §
404.1520(b); (4) Plaintiff’ s impairments do not meet or exceed one of the listed impairments
in Appendix 1, Subpart P, Regulation No. 4; (5) Plaintiff’s allegations regarding her
limitations are not totally credible; (6) the ALJ has properly consider all of the medical
opinions in the record when determining the severity ofPlaintiff’s impairments; (7) Plaintif`f
remains capable of lifting, carrying, pushing, and pulling fifty pounds occasionally and
twenty-five pounds frequently, of standing and/or walking for six hours in an eight-hour
Workday, and of` sitting for six hours in an eight-hour workday, With no physical

nonexertional limitations; (8) psychologically, Plaintif`f remains capable of understanding,

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remembering, and carrying out at least simple work instructions; of making simple-work
related decisions; of interacting appropriately with supervisors, coworkers, and the public;
and of adapting appropriately to routine changes in a work setting; '(9) Plaintiff’ s past
relevant Work as a sewing machine operator did not require the performance of work-related
activities precluded by her residual functional capacity; (10) Plaintiff" s medically
determinable status post Ll compression fracture, lumbar degenerative disc disease with
osteopenia, and depressive disorder do not prevent the claimant from performing her past
relevant work; and (l 1) Plaintif`f was not under a “disability” as defined by the Act.
A_HabSLis

The Social Security Act defines disability as the inability to engage in substantial
gainful activity due to a “physical or mental impairment Which can be expected to result in
death or which has lasted or can be expected to last for a continuous period of not less than
12 months.” 42 U.S.C. § 423(d)(1)(A), § l3820(a)(3)(A). The initial burden of going
forward is on the claimant to show that she is disabled from engaging in her former
employment; the burden then shifts to the Commissioner to demonstrate the existence of
available employment compatible with the claimant’s disability and background 42 U.S.C.
§§ 423, 13820; g Felisky v. Bowen, 35 F.3d 1027, 1035 (6th Cir. 1994). The claimant
bears the ultimate burden of establishing an entitlement to benefits. Cotton v. §ullivan, 2
F.3d 692, 695 (6th Cir. 1993).

In determining disability, the Commissioner conducts a five-step sequential analysis,

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as set forth in 20 C.F.R. § 404.1520 and § 416.920:

1. An individual who is engaging in substantial gainful activity will not
be found to be disabled regardless of medical findings.

2. An individual who does not have a severe impairment will not be
found to be disabled.

3. A finding of disability will be made Without consideration of

vocational factors if an individual is not working and is suffering from
a severe impairment which meets the duration requirement and which
meets or equals a listed impairment found in 20 C.F.R. Part 404,
Subpart. P, Appendix l.

4. An individual Who can perform work that he has done in the past will
not be found to be disabled.
5. If an individual cannot perform his past relevant Work, other factors

including age, education, past work experience, and residual functional
capacity will be considered to determine if other work can be
performed

Further analysis is unnecessary if it is determined that an individual is not disabled at any

point in this sequential evaluation process. 20 C.F.R. §§ 404.1520(a), 416.920(a); Hogg v.

Sullivan, 987 F.2d 328, 331 (6th Cir. 1989).

 

ln this case, analysis proceeded to the fourth step, where the ALJ found that Plaintiff
is not disabled because she has the residual functional capacity to perform a full range of
medium and unskilled work; thus, she was able to perform her past relevant work as a
sewing machine operator. Plaintiff contends that the ALJ improperly ignored the opinion
of her treating physician, Dr. Hinds, regarding the severity of her nonexertional mental
impairments The court must determine if there is substantial evidence in the record to
support the ALJ’s decision.

The medical evidence in the record shows that Plaintiff was admitted to the

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emergency room at the Methodist Volunteer Hospital in Martin, Tennessee, on September
23 , 2001 when a riding lawnmower that she was operating rolled over and fell on top ofher.
Radiographic studies revealed an acute compression fracture of the Ll vertebral body, along
with degenerative disc disease at the T12-L1 and LS-Sl levels. Tr. at 120. A bone scan and
magnetic resonance imaging of the lumbar spine performed were consistent with a
compression fracture at the Ll level. Tr. at 120. Plaintiff was fitted for a back brace and
was discharged from the hospital on September 27, 2001. Tr. at 19.

On October 4, 2001 , Plaintiff was seen at the Martin Specialty Clinic for a follow-up.
She reported that she had been doing relatively well, with no bowel or bladder dysfunction
and no numbness, tingling, or problems with her lower extremities. Tr. at 128. Plaintiff also
said that her back pain was decreasing and that she was wearing a brace. Tr. at 128.

On November 1, 2001, Plaintiff was seen by Dr. Peter J. Lund for another follow-up
appointment Plaintiff told Dr. Lund that she was still experiencing some discomfort but
that it was getting better. Tr. at 121. Dr. Lund was concerned that her brace might not be
fitting properly. Tr. at 121. Dr. Lund also stated that the “[l]umbar height at the
compression level is unchanged Middle column height is still normal and she has about a
50% loss of anterior column height.” Tr. at 121.

On January 7, 2002, Dr. Donita Keown performed a consultative examination of
Plaintiff at the request of Tennessee Disability Determination Section (“DDS”). Dr. Keown

noted that Plaintiff was sixty-six inches tall, weighed 192 pounds, and her blood pressure

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was 140/86. Tr. at 136. Plaintiff stated that she had a history of rheumatoid arthritis dating
back to 1988, but that she had not been treated for that impairment Tr. at 135. Plaintiff
complained of daily j oint pain and lower back pain that increased with sitting, standing, or
walking for any length of time. Tr. at 135. Plaintiff also complained of shortness of breath
during all activities Tr. at 135. Dr. Keown noted that Plaintiff smoked more than a pack
of cigarettes a day, did not use any other inhalers or pulmonary medicine, and was not taking
any anti-hypertension medicine Tr. at 135. Dr. Keown also found that: Plaintiff moved
slowly and ambulated with a cane; her range of motion of the neck was guarded; Heberden’s
nodes were found on her distal interphalan goal (DIP) joints of bilateral index fingers;
Plaintiffvoiced pain with all joint testing and guarded against full manipulation; her range
of motion was reduced in many joints and produced pain difhlsely; the straight leg raise
testing in the seated position caused knee pain; hand strength was 4+/5 on the right, and 5/5
on the lefi; and she walked slowly with a shuffling gate. Tr. at 136-38. A lumbar spine x-
ray taken that day demonstrated an old-appearing compression fracture at Ll, marked
osteopenia, and atherosclerotic changes of the aorta. Tr. at 144. ln addition, pulmonary
function tests were within normal limits. Tr. at 139-43. As a result of her examination, Dr.
Keown opined that Plaintiff remained capable of lifting and/or carrying twenty pounds
frequently, of standing and/or walking for four to six hours in an eight-hour workday, and
of sitting for four to six hours. Tr. at 138.

Two non-examining state agency doctors completed separate Physical Residual

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Functional Capacity (“RFC”) Assessments on January 17, 2002 and June 27, 2002. Both
doctors opined that Plaintiff was capable of lifting fifty pounds occasionally and twenty-five
pounds frequently, standing and/or walking for a total of about six hours in an eight-hour
Workday, and unlimited pushing and/or pulling. Tr. at 145-50, 151-58. These exertional
limitations correspond to the SSA’s definition for a full range of“medium” work. 20 C.F.R.
§ 404.1567(0). In addition, the January 17th assessment indicated that Plaintiff should avoid
exposure to environmental irritants such as fumes and gases, that Dr. Keown’s limitations
were based on Plaintiff’ s current condition and did not take into account projected
improvement, and that Plaintiff"s allegations of pain were fully credible but that pain would
improve with healing. Tr. at 145 -5 0. The June 27th assessment did not include an
assessment of Plaintiff"s credibility as to her allegations of pain and it stated that Plaintiff
had no environmental limitations Tr. at 151-58.

On May 1, 2003, Plaintiff was seen by Dr. Hinds and A.B. Marlar, P.A., his
physician’s assistant, at the Sharon Clinic.1 Plaintiff was noted as weighing 201 pounds
with a blood pressure reading of 152/70. Tr. at 161-62. Plaintiff complained of generalized
stiffness, back pain, knee pain, and neck pain which was greater during times of prolonged
sitting, bending, and getting in and out of her car or bed. Tr. at 161-62. Plaintiff also
complained of chronic shortness of breath, chronic myalgia, arthralgias, and joint

inflamation. Tr. at 161-62. Plaintiff reported her back injury and stated that she had been

 

‘ Plaintiff was applying for TennCare benefits and needed to establish with a primary
care provider.

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diagnosed with osteoarthritis in 2001 and rheumatoid arthritis in 1984. Tr. at 161-62.
Plaintiff also admitted that she was currently smoking one and a half packs of cigarettes per
day. Tr. at 161-62. Upon examination, it was determined that: Plaintiff’s thyroid was
slightly enlarged; she had some generalized wheezing with expiration; she had some upper
back kyphosis; she was experiencing muscle pain in her paraspinous muscles from Tl to L4-
5; and muscle strength was within normal limits. Tr. at 161-62. Dr. Marlar opined that
Plaintiff suffered from chronic back pain, hypertension, thyroid disease, hyperlipidemia,
hypertriglyceridemia by history, and rheumatoid arthritis by history. Tr. at 162.

On May 27, 2003, Plaintiff was seen at the Sharon Clinic. Plaintiff weighed 201
pounds and her blood pressure was 148/88. Tr. at 160. A laboratory study had confirmed
Plaintiff" s hypothyroidism and she was started on Synthroid. Tr. at 160.

On August 15, 2003, Plaintiff was seen at Sharon Clinic. A physical examination of
Plaintiff revealed diminished range of motion of the neck, chronic wheezing of the lungs,
and reduced sensation in the right L4-5 dermatome. Tr. at 182. Straight leg raise testing
was positive at twenty degrees bilaterally, and grip strength decreased bilaterally. Tr. at 182.
Plaintiff’ s diagnosis was lower back pain, hypothyroidism, anxiety/depression, and
bronchitis. Tr. at 182.

On August 19, 2003, Dr. Hinds and P.A. Marlar completed a medical source
statement in which they opined that Plaintiff cannot meet the exertional requirements ofeven

sedentary work. Tr. at 164-65. Dr. Hinds and P.A. Marlar opined that Plaintiff: was able

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to walk one city block at most; was able to stand or sit for twenty minutes at a time; required
the ability to shift position from sitting to standing to walking at will; required the freedom
to take unscheduled breaks, lasting about fifteen minutes each, three to four times per eight-
hour workday; was able to lift less than ten pounds occasionally; was unable to crouch,
crawl, or climb ladders; was rarely able to stoop or climb stairs; was significantly limited in
regard to repetitive reaching, handling, and fingering; was able to use hands for grasping
only ten percent of an eight-hour workday; was able to use fingers for fine manipulations
only ten percent of an eight-hour workday; and was able to use arms for reaching only five
hours of an eight-hour workday. Tr. at 164-68.

Dr. Hinds and P.A. Marlar also opined as to Plaintiff"s mental condition Their
assessment stated that Plaintiff had insomnia, dcpression, anxiety, somatoform disorder, and
personality disorder. Tr. at 165. The report stated that Plaintiff was incapable oftolerating
the work stress involved with “low stress jobs” and that, given Plaintiff’s mental diagnosis,
she “will be unable to perform in the work force. Patient’s physical problems and emotional
status will surely have a poor outcome!” Tr. at 165. In addition, the assessment stated that
Plaintiff’s impairments did not produce “good days” and “bad days” for her but, rather,
“constant bad days.” Tr. at 167.

On August 28, 2003, Bruce Amble, Ph.D., performed a psychological evaluation of
Plaintiff. Dr. Amble made the following diagnostic impressions: obesity, nicotine

dependence, pain disorder associated with both psychological factors and general medical

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condition, undifferentiated somatoform disorder (provisional), adjustment disorder with
mixed anxiety and depressed mood, and depressive disorder. Tr. at 170-74. Dr. Amble
noted that Plaintiff appeared mildly disheveled, used cosmetics minimally, and did not fix
her hair. Tr. at 171. Her mood appeared somber but moderately tense. Tr. at 171. She
would sometimes rock in her chair, which he believed to be caused by anxiety and stress.
Tr. at 171 . Plaintiff told Dr. Amble that she kept mostly to herself and socialized only with
her children and grandchildren Tr. at 172.

Dr. Arnble performed a mental status evaluation and found that Plaintiff was unable
to interpret proverbs, failed to recall a recent news story and failed social adjustment
questions; however, she was able to understand and remember simple instructions and her
response time was generally adequate Tr. at 172-73. Dr. Amble noted that Plaintiff
appeared motivated for employment if she were able to work, but that her lack of self-esteem
and social confidence “may well impair her capacity for continued employment.” Tr. at 173.
ln addition, Dr. Amble stated that Plainti ff’ s “[s] ocial interaction improves during the course
of the interview and I think she is a socially engaging individual.” Tr. at 173. He also noted
that although compliance with her medications may reduce her symptoms, Plaintiff did not
take prescribed medications because she was unable to afford them. Tr. at 173. Dr. Amble
opined that Plaintiff' s capacity to deal with the pressure of day-to-day employment appeared
more problematic because of her health problems and subjective experience of pain and

stress. Tr. at 173.

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On September 11, 2003, Plaintiff was seen at the Sharon Clinic for a follow-up
appointment Plaintiff was prescribed Zoloft for depression. Tr. at 180-81.

On December 30, 2003, Plaintiff was seen at the Sharon Clinic because she continued
to suffer from chronic lower back pain. Tr. at 178-79. Plaintiff’s weight had increased to
209 pounds. Tr. at 178. Plaintiff" s straight leg raise testing Was positive bilaterally at thirty
degrees. Tr. at 178-79. Plaintiff was observed as having an abnormal gait and several skin
lesions. Tr. at 178-79. She was diagnosed with hypothyroidism, lower back pain, and
osteopenia. Tr. at 178-79.

The Treating thsician Rule

The opinion of a treating physician must be given great weight when it is supported
by sufficient medical evidence _S_e_e 20 C.F.R. § 404.1527(d)(2). Under the treating
physician rule, opinions of physicians who have treated the plaintiff receive controlling
weight if they are “well-supported by medically acceptable clinical and laboratory diagnostic
techniques” and “not inconsistent with the other substantial evidence in [the] case record.”
I_d. The ALJ may reject opinions that are not supported by the medical findings and resolve

conflicts in the evidence. w Walters, 127 F.3d at 529-30 ; Cutlip, 25 F.3d at 286-87; Bogle

v. Sullivan, 998 F.2d 342, 347-48 (6th Cir. 1993); Cohen v. Secretary of Health § Human

Servs., 964 F.2d 524, 528 (6th Cir.1992); Young v. Secretary of Health and Human Serv.,
925 F.2d 146, 151 (6th Cir. 1990); Hall v. Bowen, 837 F.2d 272, 276 (6th Cir. 1988);

 

Hardawav v. Secretarv of Health & Human Servs., 823 F.2d 922, 927 (6th Cir.1987). If the

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adjudicator finds that a treating physician’s conclusion is not well-supported by medically
acceptable clinical and laboratory diagnostic techniques or is inconsistent with other
substantial evidence in the medical record, he is required to apply the following factors in
determining how much weight to give a treating physician: “the length of the treatment
relationship and frequency of the examination, the nature and extent of the treatment
relationship, supportability of the opinion with the record as a whole, and the specialization
of the treating source....” Wilson v. Comrn’r of Soc. Sec., 378 F.3d 541, 544 (6th Cir. 2004)
(citing 20 C.F.R. § 404.1527(d)(2)). Althougli the adjudicator is given deference when
evaluating these factors, there is a “clear procedural requirement” to have the opinion of a

plaintiff" s treating physician considered id“. ln Wilson the Sixth Circuit explained:

 

[Twenty C.F.R. § 404.1527(d)(2)] contains a clear procedural requirement
"We will always give good reasons in our notice of determination or decision
for the weight we give [the claiina_nt’s] treating source's opinion." I_d_. A
Social Security Ruling explains that, pursuant to this provision, a decision
denying benefits "must contain specific reasons for the weight given to the
treating source's medical opinion, supported by the evidence in the case
record, and must be sufficiently specific to make clear to any subsequent
reviewers the weight the adjudicator gave to the treating source's medical
opinion and the reasons for that weight." Soc. Sec. Rul. 96-2p, 1996 WL
374188, at *5 (1996). "The requirement ofreason-giving exists, in part, to let
claimants understand the disposition of their cases," particularly in situations
where a claimant knows that his physician has deemed him disabled and
therefore "might be especially bewildcred when told by an administrative
bureaucracy that she is notJ unless some reason for the agency's decision is
supplied." Snell v. Apfel, 177 F.3d 128, 134 (2d Cir. 1999). The requirement
also ensures that the ALJ applies the treating physician rule and permits
meaningful review of the ALJ’s application of the rule. S_ee_ Halloran v.
Barnhart, 362 F.3d 28, 32-33 (2d Cir. 2004).

I_d. at 544-45. Thus, an adjudicator must “give good reasons” for rejecting a plaintiff’s

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treating physician I_d.

In the present case, the ALJ found that Plaintiff was not disabled because she was
capable of returning to her past relevant work as a sewing machine operator, which he
classified as light and unskilled The ALJ based his findings on the RFC of the non-
examining state agency doctors that stated that Plaintiff was capable of lifting, carrying,
pushing, and pulling fifty pounds occasionally and twenty-five pounds frequently, standing
and/or walking six hours of an eight-hour workday, and sitting six hours of an eight-hour
workday.

With regard to Plaintiff`s mental capabilities, the ALJ determined that Plaintiff
remained capable of understanding, remembering, and carrying out at least simple work
instructions; of making simple work-related decisions; of interacting appropriately with
supervisors, coworkers, and the public; and of adapting appropriately to routine changes in
a work setting. In addition, the ALJ found that Plaintiff was only mildly restricted in the
activities of daily living and in maintaining appropriate social functioning; that she was
moderately restricted in maintaining concentration, persistence, and pace; and that there was
no evidence of any extended episodes of decompression. The ALJ based these conclusions
on Plaintiff’ s subjective allegations of pain and Dr. Arnble’s report, but not his assessment
form.

In his decision, the ALJ failed to discuss Dr. Hinds’ and P.A. Marlar’s opinions that

Plaintiff was incapable of tolerating oven thc work stress involved with “low stress” jobs.

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Although the ALJ stated that Dr. Hinds’ and P.A. Marlar’s assessment was not given any
evidentiary weight because “because it was based on one examination, because the
conclusions reached are completely inconsistent with the findings he recorded in his
examination report, and because his opinion is contradicted by other evidence,” the ALJ’s
opinion discussed only Dr. Hinds’ and P.A. Marlar’s findings as to Plaintiff’ s physical
exertional limitations Tr. at 21. The ALJ’s decision failed to discuss Dr. Hinds’ and P.A.
Marlar’s opinions regarding the severity of Plaintiff’s nonexertional mental impairments
As a result, the ALJ did not give proper evidentiary weight to Plaintiff’ s treating physician
when he evaluated her mental limitations

The court concludes that the ALJ’s decision that Plaintiff is not disabled is not
supported by substantial because he failed to consider Plaintiff's treating physicians’
opinions as to her nonexertional mental impairments Accordingly, the decision of the
Commissioner is hereby REMANDED for further administrative proceedings consistent
with this opinion.

IT IS SO ORDERED.

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JA S D. TODD
UNI ED STATES DISTRICT JUDGE

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EsSEE

 

.loe A. Dycus

U.S. ATTORNEY'S OFFICE
167 N. l\/lain St.

Ste. 800

l\/lemphis7 TN 38103

.lohn B. Whitesell
WH[TESELL LAW OFFICES
P.O. Box 1048

Fulton7 KY 42401

Honorable .l ames Todd
US DISTRICT COURT

